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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DEMAR PARKER,                                      Case No. 16-13036

             Plaintiff,                            Gershwin A. Drain
v.                                                 United States District Judge

CITY OF DETROIT, et. al.                           Stephanie Dawkins Davis
                                                   United States Magistrate Judge
          Defendants.
_____________________________________/

           ORDER GRANTING IN PART PLAINTIFF’S MOTION
            TO COMPEL DISCOVERY RESPONSES [DKT. 41]

      The Court, having reviewed the filings of the parties, conducted a hearing

on this date, being otherwise advised in the premises thereof and for reasons stated

on the record, finds that the discovery requests at issue are both relevant and

proportional to the needs of this case pursuant to Fed. R. Civ. P. 26(b)(1), except

that where noted below, plaintiff’s requests are limited as described. Therefore,

plaintiff’s motion is GRANTED IN PART, and defendants must supplement their

responses to Plaintiff’s First set of Interrogatories and Requests for the Production

of Documents within 21 days of entry of this order as follows:

      As to Interrogatory Nos. 1, 7, 8, 10 and 11; and Request for Production Nos.

1, 5, 6, 7, 11, 14, 15-18, 22, 24-25 and 27, defendants must provide complete

substantive responses. To the extent that any defendant responds that all



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responsive documents have already been produced, or such documents do not

exist, defense counsel must consult with his client(s) and certify, pursuant to Fed.

R. Civ. P. 26(g) that he has made reasonable inquiry of the party(ies) and to the

best of his knowledge, information and belief, the client has provided all

information and documents responsive to the discovery requests, subject to the

requirements of existing rules and law. Furthermore, each responding party must

disclose whether a given response is limited or qualified in any way, and must

state the reasoning for any such limitation or qualification in the supplemental

response(s).

      Regarding Interrogatory No. 8, the scope of defendants’ supplementation is

limited to providing information on the identity of persons at DPD during the 18-

month time period spanning 6 months before through one year after the subject

incident, who were responsible for collecting, maintaining and overseeing the

handling of complaints against DPD and its officers assigned to the defendant

officers’ precinct(s) for conduct such as is alleged in plaintiff’s complaint.

      Responses to any of the discovery requests that require the disclosure of

personal identity information, such as addresses, phone numbers, date of birth or

other information covered by Fed. R. Civ. P. 5.2 of non-party, civilian individuals

are required to be provided subject to the terms of a protective order mutually

agreed upon by the parties, or otherwise entered by the court. As to responses


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requiring disclosure of contact information for non-party DPD personnel,

accepting defense counsel’s representations regarding the same at the hearing on

this matter, such requests can be satisfied by the provision of contact information

within DPD.

      IT IS SO ORDERED

      The parties to this action may object to and seek review of this Order, but

are required to file any objections within 14 days of service as provided for in

Federal Rule of Civil Procedure 72(b)(2) and Local Rule 72.1(d). A party may not

assign as error any defect in this Order to which timely objection was not made.

Fed.R.Civ.P. 72(a). Any objections are required to specify the part of the Order to

which the party objects and state the basis of the objection. When an objection is

filed to a magistrate judge’s ruling on a non-dispositive motion, the ruling remains

in full force and effect unless and until it is stayed by the magistrate judge or a

district judge. E.D. Mich. Local Rule 72.2.

Date: October 6, 2017                      s/Stephanie Dawkins Davis
                                           Stephanie Dawkins Davis
                                           United States Magistrate Judge




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                          CERTIFICATE OF SERVICE

       I certify that on October 6, 2017, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system, which will send electronic
notification to all counsel of record.

                                           s/Tammy Hallwood
                                           Case Manager
                                           (810) 341-7887
                                           tammy_hallwood@mied.uscourts.gov




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